            Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 1 of 37




 1

 2

 3

 4

 5
                                UNITED STATES DISTRICT COURT
 6                            NORTHERN DISTRICT OF CALIFORNIA

 7   ALICIA HERNANDEZ, et al., individually and            Case No. 3:18-cv-07354 WHA
     on behalf of all others similarly situated,
 8
             Plaintiffs,                                   DECLARATION OF GRETCHEN
 9                                                         EOFF REGARDING SETTLEMENT
             v.                                            ADMINISTRATION FOR
10                                                         SUPPLEMENTAL CLASS
     WELLS FARGO BANK, N.A.,
11
              Defendant.
12

13           I, Gretchen Eoff, declare as follows:

14           1.     I am a Senior Vice President of Operations of JND Legal Administration LLC

15   (“JND”). This Declaration is based on my personal knowledge and information provided to me

16   by Counsel and experienced JND employees and, if called on to do so, I could and would testify

17   competently thereto.

18           2.     JND is serving as the Class Action Administrator1 in the above-captioned litigation

19   as ordered by the Court in its Order Granting Preliminary Approval of Supplemental Class

20   Settlement, filed July 26, 2021, ECF No. 318 (“Preliminary Approval Order”).

21

22
     1
       Capitalized terms used and not otherwise defined in this Declaration shall have the meanings
23   given such terms in the Stipulation of Class Action Settlement (“Settlement Agreement”), filed
     June 9, 2021, ECF No 312-2.
24
         DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                                SUPPLEMENTAL CLASS - 1
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 2 of 37




 1          3.     JND previously filed a Declaration Regarding Proposed Notice Plan for

 2   Supplemental Class, dated June 9, 2021, ECF No. 312-3, and a Declaration Regarding Class

 3   Notice Mailing, filed September 2, 2021, ECF No. 323-1 (“Notice Declaration”).              This

 4   Declaration is being filed to further update the Court regarding the status of the Supplemental

 5   Class Settlement Administration.

 6
                                            CAFA NOTICE
 7

 8          4.     On July 13, 2021, and in compliance with the Class Action Fairness Act

 9   (“CAFA”), 28 U.S.C. § 1715, JND compiled a CD-ROM containing the following documents

10   (with an accompanying cover letter and attachment of recipients):

11                 a. Class Action Complaint and Demand for Jury Trial, filed December 5, 2018;

12                 b. First Amended Class Action Complaint and Demand for Jury Trial, filed

13                     February 28, 2019;

14                 c. Second Amended Class Action Complaint and Demand for Jury Trial, filed

15                     August 26, 2019;

16                 d. Third Amended Class Action Complaint and Demand for Jury Trial, filed

17                     February 6, 2020;

18                 e. Plaintiffs’ Motion for Preliminary Approval of Supplemental Class Action

19                     Settlement (Unopposed), filed on June 9, 2021; and

20                 f. Stipulation of Class Action Settlement, filed on June 9, 2021 (with Exhibits).

21          5.     A true and correct copy of the CAFA Notice is attached hereto as Exhibit A.

22

23

24
      DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                             SUPPLEMENTAL CLASS - 2
            Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 3 of 37




 1                          SUPPLEMENTAL CLASS MEMBER DATA

 2
             6.     As detailed in my Notice Declaration, on August 5, 2021, JND received a data file
 3
     from the Defendant containing the names, mailing addresses, economic damage allocation
 4
     amounts, and amounts Wells Fargo previously paid in remediation for 741 unique Class Members
 5
     (“Supplemental Settlement Class List”).
 6
             7.     JND updated the Settlement Class List mailing address information using data
 7
     from the National Change of Address (“NCOA”) database.2 The Supplemental Settlement Class
 8
     List data was promptly loaded into a secure and dedicated Settlement database.
 9

10                                        NOTICE MAILING

11
             8.     On August 13, 2021, per Section V of the Settlement Agreement, JND mailed the
12
     Court-approved Class Notice by USPS first-class mail, postage prepaid, to the Supplemental
13
     Settlement Class List plus one (1) co-borrower address provided by Counsel.
14
             9.     Per my Notice Declaration, on September 10, 2021, JND mailed a corrected Class
15
     Notice and Severe Emotional Distress Claim Form (“Corrected Notice”) to the Supplemental
16
     Settlement Class List plus two (2) co-borrower addresses provided by Counsel. A representative
17
     sample of the Corrected Notice is attached hereto as Exhibit B.
18

19

20

21
     2
       The NCOA database is the official United States Postal Service (“USPS”) technology product
22   which makes change of address information available to mailers to help reduce undeliverable mail
     pieces before mail enters the mail stream. This product is an effective tool to update address
23   changes when a person has completed a change of address form with the USPS. The address
     information is maintained in the database for 48 months.
24
         DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                                SUPPLEMENTAL CLASS - 3
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 4 of 37




 1          10.    For the Corrected Notice mailing, JND prepared each Supplemental Class

 2   Member’s Corrected Notice to state the remediation and Settlement payment amounts. Per the

 3   Court’s Order, filed September 3, 2021, ECF No. 325, each Corrected Notice stated: “This notice

 4   supersedes the prior notice dated August 13, 2021” and specifically called out (in bold font)

 5   October 25, 2021 as the new deadline to object, opt-out, and/or submit a Severe Emotional

 6   Distress Claim Form (“Claim Form”).

 7          11.    Prior to the Corrected Notice mailing, JND conducted a quality assurance review

 8   of the Corrected Notices as well as the other components of the Corrected Notice packet (the

 9   Claim Form and the sheet with the Supplemental Class Member’s name and address). Prior to

10   Corrected Notice mailing, JND re-ran updated address searches using the NCOA for any

11   Supplemental Class Member whose first Notice was returned as undeliverable. JND also

12   reviewed each Corrected Notice to make sure the stated remediation and Settlement amounts

13   matched each Supplemental Class Member’s Unique ID.

14          12.    JND then prepared the Corrected Notice packets by placing, for each Supplemental

15   Class Member, the components of the Notice packet into an addressed envelope. After each

16   Notice packet was assembled, a JND employee double-checked each of the 743 Corrected Notice

17   envelopes to make sure each included the correct Supplemental Class Member’s Notice and Claim

18   Form. JND then conducted a second level of quality control, where each Corrected Notice packet

19   envelope was triple-checked. During that round of checking, Class Counsel video-conferenced

20   with JND and conducted a random spot-check of the Corrected Notice packets to ensure that

21   envelopes contained the correct Corrected Notice. Only after each Corrected Notice packet

22   envelope was triple-checked by JND, and spot-checked by Class Counsel, did JND seal the

23   Corrected Notice packet envelopes and place them in the mail on September 10, 2021.

24
      DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                             SUPPLEMENTAL CLASS - 4
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 5 of 37




 1          13.    As of December 1, 2021, 222 Corrected Notices have been returned to JND as

 2   undeliverable. Of these 222, JND re-mailed three (3) Corrected Notices to forwarding addresses

 3   provided by the USPS and 206 Corrected Notices were remailed to an updated address obtained

 4   through advanced address research or an updated address provided by Counsel. JND was unable

 5   to obtain an updated address for 13 of the undeliverable Corrected Notices. Of the 206 remailed

 6   Corrected Notices, 58 were subsequently returned to JND a second time after all remail attempts,

 7   leaving 71 apparently undelivered. However, 11 of those 71 Supplemental Class Members filed

 8   a Claim Form and provided the current address we have on file on their submission, showing that

 9   they received Settlement Notice.

10          14.    As of December 1, 2021, of the 743 Supplemental Settlement Class List Members

11   sent Corrected Notice, we estimate that 683 or 92% were deemed delivered and 60 or 8% were

12   deemed undeliverable.

13
                                        SETTLEMENT WEBSITE
14

15           15.   On August 13, 2021, JND updated the existing Settlement Website,

16   www.HomeLoanModificationSettlement.com,           to   include   information    regarding   the

17   Supplemental Class Settlement. The Settlement Website allows Class Members to learn more

18   about the case and Settlement. The “Home” page provides a summary of the Settlement, key

19   dates, and an overview of legal rights and options. The “File a Claim for Severe Emotional

20   Distress” page allows Class Members seeking Severe Emotional Distress Damages to file a

21   Claim Form. An “Important Documents” page provides downloadable PDF copies of important

22   case documents, including the Settlement Agreement, Settlement Notice (in English and

23   Spanish), and Claim Form (in English and Spanish). The “FAQ – Supplemental Class” page

24
      DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                             SUPPLEMENTAL CLASS - 5
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 6 of 37




 1   provides answers to frequently asked questions. There is also a separate “Contact Us” page

 2   detailing how JND can be reached by email, toll-free telephone, and mail.

 3          16.    As December 1, 2021, there were 11,688 total views of the Settlement Website

 4   pages and documents and 3,475 unique visitors to the Settlement Website. JND will continue to

 5   maintain the Settlement Website throughout the Settlement Administration process.

 6
                                 TOLL-FREE INFORMATION LINE
 7

 8           17.   On May 6, 2020, JND established a Settlement-specific dedicated toll-free

 9   Interactive Voice Response (“IVR”) number, 1-877-545-0236, for Class Members to call for

10   additional information and assistance including an option to speak with a live operator. The IVR

11   is accessible 24 hours a day, seven days a week.

12          18.    As of December 1, 2021, JND has received 485 calls to the IVR and handled 288

13   live calls from Class Members or other individuals since August 13, 2021 when the Supplemental

14   Class Settlement Notice was mailed. JND will continue to maintain the IVR and assist the

15   Settlement Class throughout the Settlement Administration process.

16
                                   REQUESTS FOR EXCLUSION
17
             19.   The Corrected Notice informed Supplemental Class Members that anyone who
18
     wanted to exclude themselves from the Settlement (“opt-out”) must mail a letter including their
19
     name, mailing address, telephone number, a clear statement of their desire to be excluded from
20
     the proposed Settlement, and signature, to JND postmarked no later than October 25, 2021.
21
             20.   As of December 1, 2021, JND has received one (1) timely exclusion request. A
22
     list containing information regarding this exclusion request is attached hereto as Exhibit C.
23

24
      DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                             SUPPLEMENTAL CLASS - 6
              Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 7 of 37




 1                                             OBJECTIONS

 2
                21.    The Corrected Notice informed Supplemental Class Members that anyone who
 3
         wished to object to the proposed Settlement could submit a written objection with the Court,
 4
         postmarked on or before October 25, 2021.
 5
                22.    As of December 1, 2021, JND is not aware of any Settlement objections.
 6

 7                             SEVERE EMOTIONAL DISTRESS CLAIMS

 8
                 23.   The Corrected Notice informed Supplemental Class Members that anyone who
 9
         wished to seek Severe Emotional Distress Damages must submit a Severe Emotional Distress
10
         Claim Form (“Claim Form”) so that it is received online through the Settlement Website or
11
         postmarked by mail by October 25, 2021.3
12
                 24.   As of December 1, 2021, JND has received 102 Claim Form submissions from
13
         Supplemental Class Members that were sent to the Special Master for review. Of the 102, 77
14
         were received on or before the October 25, 2021 Claim Form deadline and 25 were received
15
         after the Claim Form deadline.
16
                 25.   In addition to the 102 Claim Forms, JND also received four (4) Claim Forms
17
         deemed to be duplicative of another Claim Form submission. In addition, JND received 20
18
         Claim Forms from individuals not on the Supplemental Settlement Class List. After Wells
19
         Fargo confirmed that these individuals are not Supplemental Class Members, JND sent them a
20
         letter denying their claim on that basis. A representative sample of the Notice of Claim Denial
21
         is attached hereto as Exhibit D.
22

23   3
      At the direction of Counsel, Supplemental Class Members are still able to submit late Claim
     Forms to JND for Special Master review.
24
         DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                                SUPPLEMENTAL CLASS - 7
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 8 of 37




 1            26.   On November 15, 2021, November 19, 2021, November 23, 2021, and December

 2    1, 2021, the Special Master provided JND with the initial damage determinations for the 102

 3    valid Claim Forms.       JND promptly mailed a Notice of Claim Determination to these

 4    Supplemental Settlement Class Members to inform them of the initial damage determination

 5    made by the Special Master.

 6            27.   The Notice of Claim Determination informed these Supplemental Class Members

 7    that if they disagreed with the Special Master’s initial damage determination they may submit

 8    a request for the Special Master to conduct a second review of their Claim Form to JND, by

 9    mail or email, postmarked by December 6, 2021. A representative sample of the Notice of

10    Claim Determination is attached hereto as Exhibit E.

11            28.   As of December 1, 2021, JND has received four (4) Claim Form second review

12    requests for the Special Master. The Special Master will make a final decision on these requests

13    after December 6, 2021 so that she can make final determinations on all these claims at once.

14            29.   JND will continue to administer the Settlement through all phases of Settlement

15   Administration, as required by the Settlement Agreement, Preliminary Approval Order, and

16   pursuant to any future Orders of this Court.

17            I declare under penalty of perjury under the laws of the United States of America that

18   the foregoing is true and correct.

19          Executed on December 2, 2021 in Seattle, Washington.

20

21
                                           GRETCHEN EOFF
22

23

24
      DECLARATION OF GRETCHEN EOFF REGARDING SETTLEMENT ADMINISTRATION FOR
                             SUPPLEMENTAL CLASS - 8
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 9 of 37




                 EXHIBIT A
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 10 of 37




July 13, 2021

United States Attorney General
and the Appropriate Officials
Identified in Attachment A

RE: CAFA Notice of Proposed Class Action Settlement

Dear Attorney General or Appropriate State Official:

This Notice is being provided to you in accordance with the Class Action Fairness Act (“CAFA”),
28 U.S.C. § 1715 on behalf of Defendant, Wells Fargo Bank, N.A., in the below-referenced class action
(“the Action”). A Class Action Settlement Agreement was submitted for approval to the Court on
June 9, 2021.

        Case Name:                  Alicia Hernandez, et al. v. Wells Fargo Bank, N.A.
        Case Number:                3:18-cv-07354-WHA
        Jurisdiction:               United States District Court for the Northern District of California
        Date Settlement filed       June 9, 2021
        with Court:

Copies of all materials filed in the Action are electronically available on the Court’s Pacer website
found at https://pcl.uscourts.gov. Additionally, pursuant to 28 U.S.C. § 1715 (b), the enclosed CD-
ROM contains the following documents filed in the Action:

       01 - Complaint.pdf
              Class Action Complaint and Demand for Jury Trial, filed December 5, 2018

       02 - First AmendedComplaint.pdf
               First Amended Class Action Complaint and Demand for Jury Trial, filed February 28,
               2019

       03 - Second Amended Complaint.pdf
               Second Amended Class Action Complaint and Demand for Jury Trial, filed August
               26, 2019

       04 - Third Amended Complaint.pdf
              Third Amended Class Action Complaint and Demand for Jury Trial, filed February 6,
              2020

       05 - Motion for Preliminary Approval.pdf
              Plaintiffs’ Motion for Preliminary Approval of Supplemental Class Action Settlement
              (Unopposed), filed on June 9, 2021

       06 – Settlement Agreement.pdf
              Stipulation of Class Action Settlement, filed on June 9, 2021, and including:



                      JND Legal Administration  1100 2nd Ave, Suite 300  Seattle, WA 98101
                         Phone 800-207-7160  Fax 206-788-8766  www.JNDLA.com
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 11 of 37


               Exhibit A – Allocation Plan for Supplemental Hernandez Settlement;
               Exhibit B – [Proposed] Long Form Notice;
               Exhibit C – [Proposed] Order Granting Preliminary Approval of Supplemental
                           Class Settlement; and
               Exhibit D – [Proposed] Severe Emotional Distress Fund Claim Form.

As of the date of this letter, the Court has not yet scheduled a final fairness hearing in this matter.

At this time, Defendant is able to provide an estimate of the number of class members, by state, that
fall within the class, which list is enclosed. It is not feasible at this time to provide the name and
state of residence for each class member covered by the proposed settlement, nor is it feasible to
provide a breakdown of the estimated proportionate share of the claims of such members to the
entire settlement in accordance with 28 U.S.C. § 1715(b)(7). The proportionate share of each
individual class member will be dependent upon a number of factors that will not be known until
after the final approval hearing (including, for example, the number and identity of class members
that request exclusion).

If you have any questions regarding the details of the case and settlement, please contact Defense
Counsel’s representatives at:

       Amanda L. Groves, Esq.
       Winston & Strawn LLP
       101 California Street, 35th Floor
       San Francisco, California 94111
       Email: agroves@winston.com

       Kobi K. Brinson, Esq.
       Stacie C. Knight, Esq.
       Elizabeth J. Ireland, Esq.
       Winston & Strawn LLP
       300 South Tryon Street
       Charlotte, North Carolina 28202
       Email: kbrinson@winston.com
       Email: sknight@winston.com
       Email: eireland@winston.com

For questions regarding this Notice or if for any reason you believe the enclosed information does not
fully comply with 28 U.S.C. § 1715, please contact JND at:

       JND Class Action Administration
       1100 2nd Ave, Suite 300
       Seattle, WA 98101
       Phone: 800-207-7160

Regards,

/s/

JND Legal Administration
Enclosures

                     JND Legal Administration  1100 2nd Ave, Suite 300  Seattle, WA 98101
                          Phone 800-207-7160  Fax 206-788-8766  www.JNDLA.com
      CaseHernandez,
           3:18-cv-07354-WHA         Document 328-1 Filed 12/02/21 Page 12 of 37
                     et al. v. Wells Fargo Bank, N.A., Case No. 3:18-cv-07354-WHA
                         CAFA Notice – Attachment A – Service List

           Treg R. Taylor
                                                                    Steve Marshall
  Office of the Attorney General
                                                            Office of the Attorney General
          1031 W 4th Ave
                                                                 501 Washington Ave
              Ste 200
                                                               Montgomery, AL 36104
      Anchorage, AK 99501


          Leslie Rutledge
                                                                    Mark Brnovich
  Office of the Attorney General
                                                            Office of the Attorney General
           323 Center St
                                                                 2005 N Central Ave
              Ste 200
                                                                  Phoenix, AZ 85004
      Little Rock, AR 72201


        CAFA Coordinator                                             Phil Weiser
  Office of the Attorney General                           Office of the Attorney General
  Consumer Protection Section                              Ralph L. Carr Judicial Building
 455 Golden Gate Ave., Ste 11000                              1300 Broadway, 10th Fl
    San Francisco, CA 94102                                      Denver, CO 80203


                                                                  Kathy Jennings
           William Tong
                                                           Delaware Department of Justice
  Office of the Attorney General
                                                            Carvel State Office Building
         165 Capitol Ave
                                                                820 N French Street
       Hartford, CT 06106
                                                               Wilmington, DE 19801


          Ashley Moody
                                                                       Chris Carr
  Office of the Attorney General
                                                            Office of the Attorney General
          State of Florida
                                                                   40 Capitol Sq SW
        PL‐01 The Capitol
                                                                  Atlanta, GA 30334
      Tallahassee, FL 32399


                                                                   Thomas J. Miller
        Clare E. Connors
                                                            Office of the Attorney General
Department of the Attorney General
                                                            Hoover State Office Building
        425 Queen Street
                                                            1305 E. Walnut Street Rm 109
       Honolulu, HI 96813
                                                                Des Moines, IA 50319


                                                                    Kwame Raoul
       Lawrence G. Wasden
                                                            Office of the Attorney General
  Office of the Attorney General
                                                             James R. Thompson Center
  700 W. Jefferson St, Suite 210
                                                                 100 W. Randolph St
          Boise, ID 83720
                                                                  Chicago, IL 60601
      CaseHernandez,
           3:18-cv-07354-WHA         Document 328-1 Filed 12/02/21 Page 13 of 37
                     et al. v. Wells Fargo Bank, N.A., Case No. 3:18-cv-07354-WHA
                         CAFA Notice – Attachment A – Service List

           Todd Rokita                                              Derek Schmidt
 Indiana Attorney General's Office                          Office of the Attorney General
Indiana Government Center South                                    120 SW 10th Ave
    302 W Washington St 5th Fl                                           2nd Fl
      Indianapolis, IN 46204                                      Topeka, KS 66612


         Daniel Cameron
                                                                      Jeff Landry
  Office of the Attorney General
                                                            Office of the Attorney General
         Capitol Building
                                                                   1885 N. Third St
     700 Capitol Ave Ste 118
                                                               Baton Rouge, LA 70802
       Frankfort, KY 40601


       CAFA Coordinator
                                                                    Brian E. Frosh
    General Counsel's Office
                                                            Office of the Attorney General
   Office of Attorney General
                                                                    200 St. Paul Pl
  One Ashburton Pl, 20th Floor
                                                                Baltimore, MD 21202
       Boston, MA 02108


                                                                   Dana Nessel
            Aaron Frey
                                                          Department of Attorney General
  Office of the Attorney General
                                                         G. Mennen Williams Building, 7th Fl
       6 State House Station
                                                                 525 W Ottawa St
        Augusta, ME 04333
                                                                Lansing, MI 48933


           Keith Ellison                                             Eric Schmitt
  Office of the Attorney General                              Attorney General's Office
         445 Minnesota St                                      Supreme Court Building
             Suite 1400                                             207 W High St
       St. Paul, MN 55101                                     Jefferson City, MO 65101


             Lynn Fitch                                            Austin Knudsen
  Office of the Attorney General                            Office of the Attorney General
      Walter Sillers Building                                       215 N. Sanders
       550 High St Ste 1200                                   Justice Building, Third Fl
        Jackson, MS 39201                                         Helena, MT 59601


                                                                 Wayne Stenehjem
           Josh Stein
                                                           Office of the Attorney General
    Attorney General's Office
                                                         State Capitol, 600 E Boulevard Ave
       114 W Edenton St
                                                                      Dept. 125
       Raleigh, NC 27603
                                                                Bismarck, ND 58505
      CaseHernandez,
           3:18-cv-07354-WHA         Document 328-1 Filed 12/02/21 Page 14 of 37
                     et al. v. Wells Fargo Bank, N.A., Case No. 3:18-cv-07354-WHA
                         CAFA Notice – Attachment A – Service List

                                                                    John Formella
          Doug Peterson
                                                            Office of the Attorney General
  Office of the Attorney General
                                                             NH Department of Justice
        2115 State Capitol
                                                                     33 Capitol St.
        Lincoln, NE 68509
                                                                 Concord, NH 03301


         Gurbir S. Grewal
                                                                    Hector Balderas
  Office of the Attorney General
                                                            Office of the Attorney General
Richard J. Hughes Justice Complex
                                                                   P.O. Drawer 1508
  25 Market St 8th Fl, West Wing
                                                                 Santa Fe, NM 87504
        Trenton, NJ 08611


            Aaron Ford                                            CAFA Coordinator
  Office of the Attorney General                            Office of the Attorney General
  Old Supreme Court Building                                         28 Liberty St
         100 N Carson St                                                 15th Fl
     Carson City, NV 89701                                      New York, NY 10005


           Dave Yost
                                                                      Dawn Cash
    Attorney General's Office
                                                            Office of the Attorney General
       State Office Tower
                                                                    313 NE 21st St
      30 E Broad St 14th Fl
                                                             Oklahoma City, OK 73105
     Columbus, OH 43215



      Ellen F. Rosenblum                                            Josh Shapiro
  Oregon Department of Justice                            PA Office of the Attorney General
       1162 Court St NE                                      Strawberry Square 16th Fl
       Salem, OR 97301                                         Harrisburg, PA 17120



                                                                      Alan Wilson
         Peter F. Neronha
                                                            Office of the Attorney General
  Office of the Attorney General
                                                               Rembert C. Dennis Bldg
           150 S Main St
                                                              1000 Assembly St Rm 519
      Providence, RI 02903
                                                                 Columbia, SC 29201


         Jason Ravnsborg
                                                                Herbert H. Slatery, III
  Office of the Attorney General
                                                            Office of the Attorney General
        1302 E Highway 14
                                                            500 Dr Martin L King Jr Blvd
                Ste 1
                                                                 Nashville, TN 37243
         Pierre, SD 57501
      CaseHernandez,
           3:18-cv-07354-WHA         Document 328-1 Filed 12/02/21 Page 15 of 37
                     et al. v. Wells Fargo Bank, N.A., Case No. 3:18-cv-07354-WHA
                          CAFA Notice – Attachment A – Service List

                                                                     Sean D. Reyes
            Ken Paxton
                                                             Office of the Attorney General
  Office of the Attorney General
                                                              Utah State Capitol Complex
          300 W. 15th St
                                                               350 North State St Ste 230
         Austin, TX 78701
                                                               Salt Lake City, UT 84114



         Mark R. Herring                                             T.J. Donovan
  Office of the Attorney General                               Attorney General's Office
         202 N. Ninth St.                                            109 State St.
      Richmond, VA 23219                                        Montpelier, VT 05609



           Bob Ferguson                                               Josh Kaul
  Office of the Attorney General                               Attorney General's Office
      1125 Washington St SE                                         P.O. Box 7857
       Olympia, WA 98501                                         Madison, WI 53707



         Patrick Morrisey                                              Bridget Hill
  Office of The Attorney General                             Office of the Attorney General
State Capitol, 1900 Kanawha Blvd E                               State Capitol Building
        Building 1 Rm E-26                                            200 W 24th St
       Charleston, WV 25305                                      Cheyenne, WY 82002


                                                                    Merrick Garland
          Karl A. Racine
                                                          Office of the U.S. Attorney General
  Office of the Attorney General
                                                              U.S. Department of Justice
          400 6th St NW
                                                              950 Pennsylvania Ave NW
     Washington, DC 20001
                                                                Washington, DC 20530


 Fainu’ulei Falefatu Ala’ilima-Utu                             Leevin Taitano Camacho
   Department of Legal Affairs                              Office of the Attorney General
       Exec Ofc Bldg, 3rd Fl                                   Administration Division
             P.O. Box 7                                    590 S Marine Corps Dr, Suite 901
         Utulei, AS 96799                                        Tamuning, GU 96913


       Edward Manibusan                                     Domingo Emanuelli Hernández
  Office of the Attorney General                            Dpto. de Justicia de Puerto Rico
    Administration Building                                Calle Teniente César González 677
          P.O. Box 10007                                        Esq. Ave. Jesús T. Piñero
        Saipan, MP 96950                                          San Juan, PR 00918
      CaseHernandez,
           3:18-cv-07354-WHA         Document 328-1 Filed 12/02/21 Page 16 of 37
                     et al. v. Wells Fargo Bank, N.A., Case No. 3:18-cv-07354-WHA
                         CAFA Notice – Attachment A – Service List

         Denise N. George                                         Joses R. Gallen
  Office of the Attorney General                               Department of Justice
    3438 Kronprindsens Gade                                       P.O. Box PS-105
      GERS Building 2nd Fl                                             Palikir
       St. Thomas, VI 00802                                   Pohnpei State, FM 96941



Richard Hickson, Attorney General                                Ernestine K. Rengiil
  C/O Marshall Islands Embassy                              Office of the Attorney General
   2433 Massachusetts Ave NW                                         P.O. Box 1365
     Washington, DC 20008                                          Koror, PW 96939
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 17 of 37

                                                                               July 13, 2021

     Hernandez, et al. v. Wells Fargo Bank, N.A. (Supplemental Distribution)
                    Projected Settlement Breakdown by State

             State of Class Member          Number of Class Members
                    Alabama                            4
                    Arkansas                           6
                     Arizona                           7
                    California                         7
                    Colorado                           1
                   Connecticut                        19
                    Delaware                           3
                     Florida                          94
                     Georgia                           2
                      Iowa                            15
                      Idaho                            4
                     Illinois                         42
                     Indiana                          19
                     Kansas                            3
                    Kentucky                          24
                    Louisiana                         12
                 Massachusetts                         7
                    Maryland                          15
                      Maine                            3
                    Michigan                           3
                   Minnesota                          17
                    Missouri                           2
                   Mississippi                         1
                    Montana                            2
                 North Carolina                       29
                  North Dakota                         1
                New Hampshire                          4
                   New Jersey                         60
                  New Mexico                           7
                     Nevada                            6
                   New York                           40
                      Ohio                            66
                    Oklahoma                          19
                     Oregon                           26
                  Pennsylvania                        101
                  Rhode Island                         1
                 South Carolina                       24
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 18 of 37

                                                              July 13, 2021

            State of Class Member   Number of Class Members
                 South Dakota                  1
                  Tennessee                    3
                     Texas                     5
                     Utah                      1
                   Virginia                    7
                   Vermont                     1
                  Washington                  19
                  Wisconsin                    8
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 19 of 37




                 EXHIBIT B
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 20 of 37


     UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
     If Wells Fargo sent you a letter stating that it mistakenly denied you a loan
      modification and you later lost your home to foreclosure, you could get a
                      payment from a class action settlement.
                A federal court authorized this notice. This is not a solicitation from a lawyer.
           Hay una traducción completa de éste documento en nuestra pagina de red:
                        www.HomeLoanModificationSettlement.com
•    Wells Fargo has agreed to pay $21,865,690 to settle a class action lawsuit on behalf of borrowers
     who should have been offered a trial loan modification but were not due to a calculation error. The
     settlement applies only to those borrowers who later lost their homes to foreclosure.
•    The settlement resolves a lawsuit over whether Wells Fargo violated the law by wrongfully
     refusing trial loan modifications because of this calculation error. Wells Fargo publicly
     acknowledged the discovery of the calculation error and sent letters and checks to affected
     borrowers. Wells Fargo acknowledges the error but denies that it has further liability or that the
     erroneous calculations of trial payment plans caused foreclosures, or any related damages.
•    This settlement avoids costs and risks from continuing the lawsuit; pays money to borrowers; and
     releases Wells Fargo from liability.
•    The settlement will provide class members $18,169,325 in settlement benefits.
•    In addition, Court-appointed lawyers for the borrowers will ask the Court for up to $3,623,865 in
     attorney’s fees (approximately 16.6% of the settlement amount), reimbursement of expenses of
     no more than $2,500, and costs to administer the settlement ($70,000). Wells Fargo will pay the
     amount of attorney’s fees, costs, and administration expenses the Court awards in addition to the
     class member settlement benefits.
•    The federal court still must decide whether to approve this settlement. You have the right to make
     your views known to the Court.
•    Your legal rights are affected whether you act or don’t act. Read this notice carefully.

                  YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
    DO NOTHING                 Get a payment. Give up rights.
    OBJECT                     Write to the Court about why you don’t like the settlement. The
                               deadline for submitting a written objection is October 25, 2021.
    GO TO A HEARING            Ask to speak in Court about the fairness of the settlement. The Final
                               Fairness Hearing is scheduled for January 6, 2022.
    EXCLUDE                    Get no payment. This is the only option that allows you to ever be a
    YOURSELF                   part of another lawsuit against Wells Fargo about the legal claims in
                               this case. The deadline to exclude yourself is October 25, 2021.

•    These rights and options—and the deadlines to exercise them—are explained in this notice.
•    The Court in charge of this case still has to decide whether to approve the settlement. Payments will
     be made if the Court approves the settlement and after appeals are resolved. Please be patient.
         ***This notice supersedes the prior notice dated August 13, 2021***

     Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
           Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 21 of 37


                                                  UNIQUE ID: Unique ID
                                        WHAT THIS NOTICE CONTAINS
BASIC INFORMATION ........................................................................................................................ 3
 1. Why did I get this notice package? ............................................................................................... 3
 2. What is this lawsuit about? ........................................................................................................... 3
 3. Why is this a class action? ............................................................................................................ 3
 4. Why is there a settlement? ............................................................................................................ 3
WHO IS IN THE SETTLEMENT ........................................................................................................ 4
 5. How do I know if I am part of the settlement? ............................................................................. 4
 6. Are there exceptions to being included?....................................................................................... 4
 7. I’m still not sure if I am included.................................................................................................. 4
THE SETTLEMENT BENEFITS—WHAT YOU GET.................................................................... 4
 8. What does the settlement provide? ............................................................................................... 4
 9. How much will my payment be and how will these payments be calculated? ........................... 4
HOW YOU GET A PAYMENT ............................................................................................................ 5
 10. How can I get paid?....................................................................................................................... 5
 11. When will I get my payment? ....................................................................................................... 5
 12. What am I giving up to get a payment or stay in the Class? ........................................................ 5
EXCLUDING YOURSELF FROM THE SETTLEMENT ............................................................... 5
 13. How do I opt out of the settlement?.............................................................................................. 5
 14. If I don’t exclude myself, can I sue Wells Fargo for the same thing later? ................................. 6
 15. If I exclude myself, can I get money from this settlement? ......................................................... 6
THE LAWYERS REPRESENTING YOU .......................................................................................... 6
 16. Do I have a lawyer in this case?.................................................................................................... 6
 17. How will the lawyers be paid? ...................................................................................................... 6
OBJECTING TO THE SETTLEMENT .............................................................................................. 6
 18. How do I tell the Court that I don’t like the settlement? .............................................................. 6
 19. What’s the difference between objecting and excluding? ........................................................... 7
THE COURT’S FAIRNESS HEARING .............................................................................................. 7
 20. When and where is the Fairness Hearing? ................................................................................... 7
 21. Do I have to come to the hearing? ................................................................................................ 7
 22. May I speak at the hearing? .......................................................................................................... 8
IF YOU DO NOTHING .......................................................................................................................... 8
  23. What happens if I do nothing at all? ............................................................................................. 8
GETTING MORE INFORMATION ................................................................................................... 8
 24. How do I get more information?................................................................................................... 8




                                                    2
     Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 22 of 37


                                     BASIC INFORMATION
1.     Why did I get this notice package?
You have been identified as a borrower who was erroneously not offered a trial loan modification or
repayment plan by Wells Fargo and later lost your home in a foreclosure sale.
The Court sent you this notice because you have a right to know about a proposed settlement of a
class action lawsuit, and about your options, before the Court decides whether to approve the
settlement. If the Court approves it and after objections and appeals are resolved, an administrator
appointed by the Court will make the payments that the settlement allows. You will be informed of
the progress of the settlement at www.HomeLoanModificationSettlement.com.
This package explains the lawsuit, the settlement, your legal rights, what benefits are available, who
is eligible for them, and how to get them.
The Court in charge of the case is the United States District Court for the Northern District of
California, and the case is known as Hernandez et al. v. Wells Fargo Bank, Case No. 3:18-cv-07354-
WHA. The people who sued are called Plaintiffs, and the company they sued, Wells Fargo, is called
the Defendant.

2.     What is this lawsuit about?
The lawsuit alleges that between 2010 and 2018, Wells Fargo miscalculated attorney’s fees that were
included for purposes of determining whether a borrower qualified for a mortgage loan modification
under the U.S. Department of Treasury’s Home Affordable Modification Program (HAMP).
Specifically, fees that should have been compared for purposes of the relevant calculation were instead
added—which resulted in the erroneous refusal to offer a trial loan modification or repayment plan.
Over 1,200 borrowers impacted by this calculation error later lost their homes to foreclosure.
Wells Fargo publicly acknowledged the calculation error and sent letters and checks to affected
borrowers. Plaintiffs filed this lawsuit to seek what they claim is full compensation for themselves
and similarly situated borrowers. A prior settlement (Hernandez I) provided settlement payments to
over 500 of the impacted borrowers, but over 700 borrowers were identified after the earlier
settlement payments were approved. This settlement is designed to provide the same level of
compensation to the remaining impacted borrowers.
Wells Fargo denies Plaintiffs’ allegations. Wells Fargo denies that it breached a contract or that the
erroneous calculations of trial payment plans caused foreclosures or any related damages.

3.     Why is this a class action?
In a class action, one or more people called Class Representatives (in this case, Debora Granja and
Sandra Campos) sue on behalf of people who have similar claims. All these people are a Class or
Class Members. One court resolves the issues for all Class Members, except for those who exclude
themselves from the Class. U.S. District Judge William Alsup is in charge of this class action.

4.     Why is there a settlement?
The Court did not decide in favor of Plaintiffs or Wells Fargo. Instead, both sides have agreed to the
Settlement. That way, people who lost their homes can receive certain and substantial payments and both
sides avoid the multi-year delay, risk, and cost of a trial and appeal. The Class Representatives and the
attorneys strongly believe the settlement is best for all Class Members given the risks of the case.

                                                    3
     Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 23 of 37


                              WHO IS IN THE SETTLEMENT
To see if you will get money from this settlement, you first have to determine whether you are a
Class Member.

5.     How do I know if I am part of the settlement?
You are a member of the Class if the calculation error caused Wells Fargo not to offer you a trial loan
modification (even though you qualified for one) and you later lost your home in a foreclosure sale.
You likely received a letter from Wells Fargo in 2021 regarding the error.
The Court’s description of the Class is as follows:
        All persons in the United States who between 2010 and 2018 (i) qualified for a home
        loan modification or repayment plan pursuant to the requirements of government-
        sponsored enterprises (such as Fannie Mae and Freddie Mac), the Federal Housing
        Administration (FHA), the U.S. Department of Treasury’s Home Affordable
        Modification Program (HAMP); (ii) were not offered a home loan modification or
        repayment plan by Wells Fargo due to excessive attorney’s fees being included in the
        loan modification decisioning process; (iii) whose home Wells Fargo sold in
        foreclosure; and (iv) were not part of the Hernandez I Settlement.

6.     Are there exceptions to being included?
If you received a letter from Wells Fargo stating that you were erroneously denied a loan modification
because of the calculation error, that alone does not make you a Class Member. You are a Class
Member only if you received such a letter and also lost your home to Wells Fargo in a foreclosure
sale. You are also not a member of the class if (a) Wells Fargo sent you a letter but later determined
that you in fact did not qualify for a trial loan modification or (b) you signed a settlement with Wells
Fargo releasing the claims at issue in this case.

7.     I’m still not sure if I am included.
If you are still not sure whether you are included, you can ask for free help. You can call
1-877-545-0236 or visit www.HomeLoanModificationSettlement.com for more information.

                 THE SETTLEMENT BENEFITS—WHAT YOU GET
8.     What does the settlement provide?
Wells Fargo has agreed to pay $21,865,690. $18,169,325 will be distributed to Class Members.
$1.45 million from this amount will be used to compensate Class Members who can show that they
suffered severe emotional distress as a result of the calculation error. The rest will be distributed as
described in Sections 9 and 10. Payment of attorney’s fees, costs and administration expenses are
described in Section 17 below.

9.     How much will my payment be and how will these payments be calculated?
If you do nothing, you will receive a check for at least $Allocation Amount. This is in addition to the
$Previously Paid Amount Wells Fargo has previously sent you. The check will be made out to you and
any co-borrower(s) you had on the mortgage. Your share of the settlement fund is based on the
following factors: (1) the amount of your unpaid balance at the time of the error; (2) whether you were
delinquent on your loan for six months or more at the time of the error; and (3) how much Wells Fargo

                                                    4
     Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
        Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 24 of 37


previously sent you. For a detailed explanation of all the steps taken to calculate your settlement share,
please go to www.HomeLoanModificationSettlement.com and review the Allocation Plan document.
You can also apply for additional payments if you suffered severe emotional distress. See Section 10.
If you are awarded a payment for severe emotional distress, the payment will come in a check that is
made out to only you, unless you apply for and receive a payment as co-borrowers.

                               HOW YOU GET A PAYMENT
10. How can I get paid?
You do not need to do anything to receive your share of the settlement. Your money will be mailed
to you automatically if the Court approves the settlement, unless you exclude yourself from the
settlement. If your address changes, please let the Settlement Administrator know your new address.
If you believe you suffered severe emotional distress, you can apply for an additional payment from
the $1.45 million fund set aside for this purpose. You can use the claim form enclosed with this notice
or go to www.HomeLoanModificationSettlement.com and either fill out the form online or download
the form and mail it to: Hernandez v. Wells Fargo Bank, N.A., c/o JND Legal Administration, P.O.
Box 91350, Seattle, WA 98111.
You must submit this claim by October 25, 2021. An attorney experienced in handling emotional distress
claims has been appointed by the Court as a special master to process these claims and determine which
Class Members will get additional settlement payments and the amount of those payments.

11. When will I get my payment?
The Court will hold a hearing on January 6, 2022, to decide whether to approve the settlement. If the
Court approves the settlement, there may still be appeals. It’s always uncertain whether these appeals
can be resolved, and resolving them can take time, perhaps more than a year. You can check on the
progress of the settlement at www.HomeLoanModificationSettlement.com. Please be patient.

12. What am I giving up to get a payment or stay in the Class?
Unless you exclude yourself, you are staying in the Class, and that means that you can’t sue, continue
to sue, or be part of any other lawsuit against Wells Fargo about the legal issues in this case. It also
means that all of the Court’s orders will apply to you and legally bind you. If you do not exclude
yourself, you will agree to the “Release” in Section IX of the Settlement Agreement, available at
www.HomeLoanModificationSettlement.com, which describes exactly the legal claims that you give
up if you get settlement benefits.

               EXCLUDING YOURSELF FROM THE SETTLEMENT
If you don’t want a payment from this settlement, but you want to keep the right to sue or continue to
sue Wells Fargo on your own about the legal issues in this case, you must take steps to get out. This
is called excluding yourself—sometimes referred to as “opting out” of the settlement Class.

13. How do I opt out of the settlement?
To exclude yourself from the settlement, you must send a letter by mail entitled “Request for
Exclusion.” You must clearly say: “I want to be excluded from the settlement in Hernandez et
al. v. Wells Fargo Bank (Case No. 3:18-cv-07354-WHA) (N.D. Cal.).” Be sure to include your
name, mailing address, telephone number, and your signature. If known, please also include the

                                                  5
   Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
       Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 25 of 37


address of the property that was affected by Wells Fargo’s failure to offer a loan modification. If there
was more than one borrower on the applicable loan (for example, two spouses), both borrowers must
personally sign the Request for Exclusion. Your exclusion request must be postmarked no later than
October 25, 2021 to:
                                        Wells Fargo Exclusions
                                Hernandez v. Wells Fargo Bank, N.A.
                                    c/o JND Legal Administration
                                           P.O. Box 91350
                                          Seattle, WA 98111
If you ask to be excluded, you will not get any settlement payment, and you cannot object to the
settlement. You will not be legally bound by anything that happens in this lawsuit. You may be able
to sue (or continue to sue) Wells Fargo in the future.

14. If I don’t exclude myself, can I sue Wells Fargo for the same thing later?
No. Unless you exclude yourself, you give up any right to sue Wells Fargo for the claims that this
settlement resolves. If you have a pending lawsuit, speak to your lawyer in that case immediately.
You must exclude yourself from this Class to continue your own lawsuit. Remember, the exclusion
deadline is October 25, 2021.

15. If I exclude myself, can I get money from this settlement?
No. If you exclude yourself, you will not receive any money from this settlement. But, you may sue,
continue to sue, or be part of a different lawsuit against Wells Fargo.

                         THE LAWYERS REPRESENTING YOU
16. Do I have a lawyer in this case?
Class Counsel in this case are Gibbs Law Group LLP (www.classlawgroup.com), in Oakland, CA,
and Paul LLP (www.paulllp.com), in Kansas City, MO. You will not be charged for these lawyers. If
you want to be represented by your own lawyer, you may hire one at your own expense.

17. How will the lawyers be paid?
Class Counsel will ask the Court to approve payment of up to $3,623,865 (approximately 16.6% of
the settlement amount) for attorney’s fees and reimbursement of up to $2,500 in litigation expenses
they incurred throughout this phase of the case. The attorney’s fees would pay Class Counsel for
investigating the facts, litigating the case, and negotiating the settlement. The Court may award less
than these amounts. There will also be costs of $70,000 to administer the settlement. Wells Fargo has
agreed to pay the attorney’s fees and expense amounts awarded by the Court separate from and in
addition to the Class Member benefit amount, meaning the amount of fees and expenses awarded will
not affect the $18,169,325 that Class Members will receive.

                          OBJECTING TO THE SETTLEMENT
You can tell the Court that you don’t agree with the settlement or some part of it.

18. How do I tell the Court that I don’t like the settlement?
If you’re a Class Member, you can ask the Court to deny approval by filing an objection. You can't
ask the Court to order a different settlement; the Court can only approve or reject the settlement. If

                                                  6
   Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
       Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 26 of 37


the Court denies approval, no settlement payments will be sent out and the lawsuit will continue. If
that is what you want to happen, you must object.
Any objection to the proposed settlement must be in writing. If you file a timely written objection,
you may, but are not required to, appear at the Final Fairness Hearing, either personally or through
your own attorney. If you appear through your own attorney, you are responsible for hiring and paying
that attorney. All written objections and supporting papers must (a) clearly identify the case name and
number (Hernandez et al. v. Wells Fargo Bank, Case No. 3:18-cv-07354-WHA), (b) be submitted to
the Court either by mailing them to the Class Action Clerk, United States District Court for the
Northern District of California, 450 Golden Gate Avenue, Box 36060, San Francisco, CA 94102, or
by filing them in person at any location of the United States District Court for the Northern District
of California, and (c) be filed or postmarked on or before October 25, 2021.
Be sure to include: (1) your name, mailing address, email address, and telephone number; (2) state
the specific legal and factual bases for your objections; (3) whether you (or your attorney) intend to
appear at the Final Fairness Hearing; (4) a statement that you are a member of the Settlement Class;
(5) a detailed list of any other objections you (or your attorney) have submitted to any other class
actions in the last five years; and (6) your signature.

19. What’s the difference between objecting and excluding?
Objecting is simply telling the Court that you don’t like something about the settlement. You can object
only if you stay in the Class. Excluding yourself is telling the Court that you don’t want to be part of
the Class. If you exclude yourself, you have no basis to object because the case no longer affects you.

                          THE COURT’S FAIRNESS HEARING
The Court will hold a hearing to decide whether to approve the settlement. You may attend and you
may ask to speak, but you don’t have to.

20. When and where is the Fairness Hearing?
The Court will hold a Fairness Hearing at 11:00 a.m. PST on Thursday, January 6, 2022, by telephone.
At this hearing, the Court will consider whether the settlement is fair, reasonable, and adequate. If
there are objections, the Court will consider them. The Court will listen to people who have asked to
speak at the hearing. The Court may also decide how much to pay to Class Counsel. After the hearing,
the Court will decide whether to approve the settlement. We do not know how long these decisions
will take.
The Court may reschedule the Fairness Hearing or change any of the deadlines described in this
notice. The date of the Fairness Hearing may change without further notice to Class Members. Be
sure to check the settlement website, www.HomeLoanModificationSettlement.com, for news of any
such changes. You can also check whether the hearing date or any deadlines have changed by
accessing the case docket via the Court’s Public Access to Court Electronic Records (PACER) system
at https://ecf.cand.uscourts.gov.

21. Do I have to come to the hearing?
No. Class Counsel will answer questions the Court may have. But, you are welcome to come at your
own expense. If you send an objection, you don’t have to come to Court to talk about it. As long as
you mailed your written objection on time, the Court will consider it. You may also pay your own
lawyer to attend, but it’s not necessary.


                                                  7
   Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
       Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 27 of 37


22. May I speak at the hearing?
You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must indicate
your desire to speak at the hearing in your objection letter (see section 18 above). You cannot speak
at the hearing if you excluded yourself.

                                    IF YOU DO NOTHING
23. What happens if I do nothing at all?
If you do nothing, you’ll receive a settlement payment as described above, as long as the Court
approves the settlement. But, unless you exclude yourself, you won’t be able to start a lawsuit,
continue with a lawsuit, or be part of any other lawsuit against Wells Fargo about the legal issues in
this case, ever again.

                            GETTING MORE INFORMATION
24. How do I get more information?
This notice summarizes the proposed settlement. More details are in the Settlement Agreement
available at www.HomeLoanModificationSettlement.com.
You can email the settlement administrator at info@HomeLoanModificationSettlement.com or call
1-877-545-0236 toll free; or visit the website at www.HomeLoanModificationSettlement.com, where
you will find answers to common questions about the settlement, plus other information to help you
determine whether you are a Class Member and whether you are eligible for a payment.
All the case documents that have been filed publicly in this case are also available online through the
Court’s Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov.
This case is called Hernandez et al. v. Wells Fargo Bank, and the case number is
3:18-cv-07354-WHA (N.D. Cal.).
You may also obtain case documents by visiting the office of the Clerk of Court for the United States
District Court for the Northern District of California, San Francisco Division, 450 Golden Gate
Avenue, 16th Floor, San Francisco, CA 94102, between 9:00 a.m. and 4:00 p.m., Monday through
Friday, except court-observed holidays. More information about the clerk’s office hours and other
locations can be found at https://www.cand.uscourts.gov/locations.
You can also contact Class Counsel for them to answer questions:
                                        CLASS COUNSEL
 Richard Paul                                       Michael Schrag
 PAUL LLP                                           GIBBS LAW GROUP LLP
 601 Walnut Street, Suite 300                       505 14th Street, Suite 1110
 Kansas City, MO 64106                              Oakland, CA 94612
 Telephone: (816) 984-8100                          Telephone: (510) 350-9718
 Facsimile: (816) 984-8101                          Facsimile: (510) 350-9701
 rick@paulllp.com                                   mls@classlawgroup.com


PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO
            INQUIRE ABOUT THIS SETTLEMENT.


                                                  8
   Questions? Call 1-877-545-0236 toll free, or visit www.HomeLoanModificationSettlement.com
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 28 of 37
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 29 of 37
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 30 of 37
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 31 of 37
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 32 of 37




                 EXHIBIT C
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 33 of 37




                Hernandez, et. al. v. Wells Fargo Bank, N.A.
                          (Supplemental Class)

       Timely Requests for Exclusion (Deadline: October 25, 2021)


                     Name                          City/State

1.     Walter Ellinwood                    Pella, IA
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 34 of 37




                 EXHIBIT D
      Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 35 of 37


                                Hernandez v. Wells Fargo Bank, N.A.
                                    c/o JND Legal Administration
                                           P.O. Box 91350
                                          Seattle, WA 98111
                                      Toll-free: 1-877-545-0236
                              www.HomeLoanModificationSettlement.com


DATE

RE: CLAIM ID Unique ID

                                 NOTICE OF CLAIM DENIAL

Dear Name,

We received your Severe Emotional Distress Claim Form in the Hernandez v. Wells Fargo Bank,
N.A., settlement. However, our records indicate that you are not a class member in the case, and
are therefore not included in the settlement. The case involves a calculation error that caused
Wells Fargo to wrongfully deny trial loan modifications to class members. Because that specific
error did not affect your loan, you are not included in the case.

Therefore, we did not review your Severe Emotional Distress Claim Form. You will not be
receiving any compensation from this settlement.

If you have questions about this letter, please call the Settlement Administrator toll-free at 1-877-
545-0236.     If    you     have      questions       about    the   Settlement,      please     visit
www.HomeLoanModificationSettlement.com.

Regards,
Settlement Administrator
Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 36 of 37




                 EXHIBIT E
      Case 3:18-cv-07354-WHA Document 328-1 Filed 12/02/21 Page 37 of 37


                               Hernandez v. Wells Fargo Bank, N.A.
                                   c/o JND Legal Administration
                                          P.O. Box 91350
                                         Seattle, WA 98111
                                     Toll-free: 1-877-545-0236
                             www.HomeLoanModificationSettlement.com


DATE

RE: CLAIM ID Unique ID

                           NOTICE OF CLAIM DETERMINATION

Dear Name,

Thank you for submitting your Severe Emotional Distress Claim Form in the Hernandez v. Wells
Fargo Bank, N.A. settlement. The claim you submitted was reviewed by the court-appointed
Special Master, who determined that you are entitled a compensation of $ED Allocation from the
Severe Emotional Distress Fund. This compensation is in addition to the $Allocation Amount
guaranteed minimum payment that was described in the Notice of Settlement you received.

You do not need to do anything to receive this compensation. Your money will be mailed to you
automatically if the Court approves the Settlement. If you disagree with the determination made
by the Special Master, you may dispute the decision by submitting a written request for a second
review of your claim by December 6, 2021. The determination made after a second review will
be final and cannot be contested.

To request a second review, you must submit a written statement stating why you believe the
decision on your claim should be different. You may submit the requested information by email
to info@HomeLoanModificationSettlement.com, or by mail to:

                             Hernandez v. Wells Fargo Bank, N.A.
                                c/o JND Legal Administration
                                       P.O. Box 91350
                                      Seattle, WA 98111

If you have questions about this letter or your options, please call the Settlement Administrator
toll-free at 1-877-545-0236. If you have questions about the Settlement, please visit
www.HomeLoanModificationSettlement.com.

Regards,

Settlement Administrator
